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                            UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division


BRIAN D. TAYLOR,

                     Plaintiff,
v.                                                   Case No.: 1:21-cv-01354-LMB-IDD

EXPERIAN INFORMATION SOLUTIONS,
INC., TRANS UNION LLC, and VERIZON
COMMUNICATIONS INC.,

                     Defendants.


     DEFENDANT VERIZON COMMUNICATIONS INC.’S CONSENT MOTION FOR
        EXTENSION OF TIME TO RESPOND TO PLAINTIFF’S COMPLAINT

       Defendant Verizon Communications Inc. (“Verizon”), hereby moves pursuant to Fed. R.

Civ. P. 6(b)(1) and Local Civil Rule 7(F)(2) for an extension of time for Verizon to respond to

Plaintiff Brian B. Taylor’s (“Plaintiff”) Complaint, as follows.

       1.      Verizon is in the process of reviewing and investigating the allegations contained

in Plaintiff’s Complaint.

       2.      The parties are also in active settlement negotiations, and require additional time

to potentially resolve this matter.

       3.      As such, Verizon respectfully requests that the Court grant Verizon a 30-day

extension of time to respond to Plaintiff’s Complaint, making the new deadline for Verizon to

respond to Plaintiff’s Complaint be due on or before March 2, 2022.

       4.      Verizon’s counsel has communicated this extension request with Plaintiff’s

counsel, who has agreed to the 30-day extension request.
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       5.      No party would be prejudiced by the extension. The case was recently filed, and

no substantive activities have taken place.

       6.      Verizon does not request oral argument on this motion.

       7.      A proposed order is attached hereto.

       WHEREFORE, Verizon, by counsel, hereby requests that the Court enter an Order (1)

granting Verizon’s Consent Motion for an Extension of Time to Respond to Plaintiff’s

Complaint; (2) providing Verizon with an extension of time to file its responsive pleadings to the

Complaint until on or before March 2, 2022; and (3) awarding Verizon such further relief as the

Court deems appropriate.

DATED: January 31, 2022

                                              Respectfully Submitted,

                                              By: _/s/ J. Caleb Jones
                                              Counsel
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